                                     Exhibit List
                   Mullins v. State of Indiana et al., 1:20-cv-2900

                                PLAINTIFF’S EXHIBITS
Trial #   Dep. #                    Description                        Stipulations (if any)
                   Applicant Background and New Hire
  3         3                                                              Authenticity
                   Checklist [Dkt. 80-1]


  4         4      Interview Questions Set 1 [Dkt. 80-2]                   Authenticity


  5         5      Interview Questions Set 2 [Dkt. 80-3]                   Authenticity


  6         6      Interview Questions Set 3 [Dkt. 80-4]                   Authenticity


                   Late May 2019 Email Chain Involving Miller,
  41       41                                                      Authenticity and Admissibility
                   Whitaker, and Nauth [Dkt. 80-5]

                   Late April 2019 Email Chain Involving Miller,
  65       65                                                      Authenticity and Admissibility
                   Whitaker, and Nauth [Dkt. 80-6]


  66               Resume of David Mullins [Dkt. 80-7]             Authenticity and Admissibility


  67               Offer Letter [Dkt. 76-2]                        Authenticity and Admissibility
68   Job Description, Metrologist 1 [Dkt. 76-3]     Authenticity and Admissibility


     Written Counseling (May 10, 2019) [Dkt. 76-
69                                                  Authenticity and Admissibility
     6]

     Letter from M. Foster to D. Mullins (May 31,
70                                                  Authenticity and Admissibility
     2019) [Dkt. 76-7]

     Email from M. Shobe to D. Nauth (Apr. 23,
71                                                  Authenticity and Admissibility
     2019) [STATE0115.0012]

     Email String (Apr. 23-24, 2019)
72                                                  Authenticity and Admissibility
     [STATE0015.0042]

     Email from M. Miller to D. Mullins (Apr. 25,
73                                                           Authenticity
     2019) [STATE0015.0041]

     Email from M. Miller to D. Nauth
74                                                  Authenticity and Admissibility
     (May 1, 2019) [STATE0004.0001]

     Email String (May 3, 2019)
75                                                  Authenticity and Admissibility
     [STATE0004.0015]

     Email String (May 10, 2019)
76                                                  Authenticity and Admissibility
     [STATE0004.0019]

     Email String (May 10, 2019)
77                                                  Authenticity and Admissibility
     [STATE0004.0022]
                   Email String (May 15, 2019)
  78                                                              Authenticity and Admissibility
                   [STATE0005.0001]

                   Email from M. Miller to D. Mullins (Apr. 25,
  79                                                              Authenticity and Admissibility
                   2019) [STATE0015.0030]

                   Email String (May 24-28, 2019)
  80                                                              Authenticity and Admissibility
                   [STATE0006.0012]

                   Email String (May 28-30, 2019)
  81                                                              Authenticity and Admissibility
                   [STATE0006.0033]

                   Email from M. Miller (May 10, 2019)
  82                                                              Authenticity and Admissibility
                   [STATE0015.0029]

                   Email String (May 29-30, 2019)
  83                                                              Authenticity and Admissibility
                   [STATE0006.0022]


                              DEFENDANTS’ EXHIBITS

Trial #   Dep. #                   Description                        Stipulations (if any)
                   Mullins’ Candidate Profile Print Review
 101                                                              Authenticity and Admissibility
                   (STATE0015.0066-69)

                   Hiring Manager Final Candidate Justification
 102                                                              Authenticity and Admissibility
                   (STATE0119.0001)

                   Mullins’ References and Work History
 103                                                              Authenticity and Admissibility
                   (STATE0119.0002)
                                      5/11/18 Email from Miller to Mullins re:
       104                                                                          Authenticity and Admissibility
                                      Application (STATE0122.0037-40)

                                      Air Force Job Description #70646000 (5
       105           Mullins C                                                      Authenticity and Admissibility
                                      pages)
                                      4/25/19 Email chain between Whitaker and
       106                            Miller re: Mullins’ Initial Issues                    Authenticity
                                      (STATE0003.0010-12)1
                                      4/25/19 Email from Miller to Mullins re:
       107                                                                                  Authenticity
                                      Communication (STATE0015-0030)

                                      4/26/19 Email between Miller, Nauth,
       108                                                                                   Authenticity
                                      Whitaker re: Timeliness (STATE0003.0016)

                                      5/3/19 Email from Whitaker to Miller re:
       109                                                                                  Authenticity
                                      Sleeping (STATE0093.0015)


       110                            Photo of Mullins Sleeping (STATE0124.0034)                none


                                      5/10/19 Email from Miller to Staff re: Work
       111                                                                                  Authenticity
                                      Attire (STATE0015.0029)

                                      Photos of Mullins and Wickersham at Work
       112                                                                                      none
                                      (STATE0009.0002-3)

                                      5/14/19 Email from Wickersham to Mullins
       113                                                                                  Authenticity
                                      re: Afternoon Work Load (STATE0015.0050)


1 Compare to Plaintiff’s Exhibit 41
      5/16/19 Email from Wickersham to Mullins
114                                                        Authenticity
      re: NIST (STATE0015.0049)

      5/16/19 Email from Whitaker to Miller re:
115                                                        Authenticity
      Unemployment (STATE0083.0001)

      5/17/19 Email from Wickersham to Mullins
116                                                        Authenticity
      re: Software Management (STATE0015.0048)

      Mullins’ Learning Plan Transcript
117                                                Authenticity and Admissibility
      (STATE0104.0001)

      Excel LinkedIn Learning Training
118                                                Authenticity and Admissibility
      Opportunities (STATE0120.0001)
      5/20/19 Email from Miller to Wickersham,
119   Mullins re: Progress Reports                         Authenticity
      (STATE0016.0002)
      5/20/19 Email between Miller and Nauth re:
120                                                        Authenticity
      Mullins’ Progress (STATE0005.0016-18)

      5/23/19 Email to Mullins re: Holiday Inn
121                                                        Authenticity
      Reservation (STATE0122.0011)

      5/30/19 Email from Wickersham to Mullins
122                                                        Authenticity
      re: To Do List (STATE0015.0045)

      Unemployment Inquiry from Dept’ Workforce
123                                                            none
      Dev. and ISDH Protest (STATE0116.0001-4)
                  5/30/19 Letter from Disability
124                                                               none
                  Determination Bureau (MISC_000004 at 29)
                  6/10/19 Emails between Whitaker and
125   Mullins H   Mullins re: Civil Service Complaint          Authenticity
                  (STATE0082.0001-2)
                  8/7/19 Email from MM to DN re: New Hire
126                                                            Authenticity
                  (STATE0007.0002)

                  9/22/20 Email to Whitaker re: EEOC Notice
127                                                            Authenticity
                  (STATE0010.0009-10)

                  Other Employees’ Discipline Spreadsheet
128                                                               none
                  (STATE0015.0130-134)

                  Defendants’ 4/26/21 Interrogatories to
129                                                            Authenticity
                  Mullins


130               Mullins’ 5/23/21 Interrogatory Responses     Authenticity


                  Dr. Lysaker’s Mental Status Examination of
131                                                            Authenticity
                  Mullins (SUBPOENA000260-269)

                  Dr. Simmons Physical Examination of
132                                                            Authenticity
                  Mullins (SUBPOENA000254-258)

                  11/21/19 Primary Care Education Note, LPN
133                                                               None
                  Sharp at 11:04:14 (MISC_001279 at 324-25)
      6/30/19 Social Work Admission Evaluation
134   Note, A. Carmany at 13:59:57 (MISC_001279         None
      at 368-70)
      2/19/20 Primary Care Message from Mullins
135                                                     None
      at 12:31 p.m. (MISC_001279 at 305)

      7/19/21 Letter from Mullins to Carlisle
136                                                     None
      (MISC_000268 at 2-3)

      8/1/21 Letter from Mullins to Carlisle
137                                                     None
      (MISC_001117 at 2-5)

      Disability Report – Adult – Form SSA-3368
138                                                  Authenticity
      (MULLIN-000094 – MULLIN000101)



      Disability Determination Bureau, Indiana
      Disability Determination Service for Social
139                                                  Authenticity
      Security Disability Claims for David Mullins
      (MULLIN-000408 – MULLIN000416)




      Disability Determination Bureau, Indiana
      Disability Determination Service for Social
140                                                  Authenticity
      Security Disability Claims for David Mullins
      (MULLIN-000418 – MULLIN000426)
                       Disability Determination Bureau letter dated
141                    May 30, 2019 with Evaluation information                 Authenticity
                       for Friday June 14, 2019 (MULLIN-000427)
                       Disability Determination Bureau letter dated
142                    May 30, 2019 with Evaluation information                 Authenticity
                       for Friday June 15, 2019 (MULLIN-000429)
                       Disability Determination Bureau letter dated
143                    June 4, 2019, Reminder Letter (MULLIN-                   Authenticity
                       000431)
                       Disability Determination Bureau letter dated
144                    June 5, 2019, Reminder Letter (MULLIN-                   Authenticity
                       000432)
                       Disability Determination Explanation
145                                                                             Authenticity
                       (MULLIN-000465 – MULLIN000479)

                       Disability Determination and Transmittal
146                                                                             Authenticity
                       (MULLIN-000480)


                       Disability Determination Bureau, Indiana
                       Disability Determination Service for Social
147                                                                             Authenticity
                       Security Disability Claims for David Mullins
                       (MULLIN-000485 – MULLIN000493)



For ID Only or as needed for authentication, impeachment, rehabilitation, refreshing recollection


                       Mullins Deposition Transcript
            Miller Deposition Transcript


            Whitaker Deposition Transcript


            Mullins Medical Records re: Marijuana Usage
Mullins K
            (impeachment purposes)
            Mullins Medical Records re: Erectile
Mullins L   Dysfunction Treatment (impeachment
            purposes)

            SSA Business Records Certification


            VA Business Records Certification
